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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

DANIELA HALLIBURTON,                                  §
                                                      § Civil Action No. _____________
                                 Plaintiff,           §
v.                                                    §
                                                      § Jury Trial Demanded
ADMINISTRATORS OF THE TULANE                          §
EDUCATIONAL FUND,                                     §
                                                      §
                                  Defendant.          §
                                                      §



                           PLAINTIFF'S ORIGINAL COMPLAINT

       Plaintiff Daniela Halliburton, through her undersigned counsel, brings this action against

Defendant Administrators of the Tulane Educational Fund and respectfully alleges as follows:

                                         INTRODUCTION

       1.      This lawsuit seeks monetary relief and other damages from Defendant for its

violations of the Americans with Disabilities Act ("ADA"), the Family Medical Leave Act

("FMLA"), and the Fair Labor Standards Act ("FLSA). Defendant discriminated against Plaintiff

on the basis of her disability and retaliated against her for complaining about unlawful

discrimination and for taking protected leave under the FMLA by, inter alia, (i) failing to

provide a reasonable accommodation for her disability, (ii) placing her on a three-day unpaid

suspension, (iii) removing her job responsibilities; and (iv) ultimately terminating Plaintiff’s

employment. Defendant's placing Plaintiff on a three-day unpaid suspension and removing her

direct reports and job responsibilities also constitute a violation of the foregoing statutes.




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                                         THE PARTIES

        2.      Plaintiff Daniela Halliburton (hereinafter “Ms. Halliburton” or “Plaintiff”) is an

individual residing in Orleans Parish, Louisiana.

        3.      Defendant Administrators of the Tulane Educational Fund ("Defendant") is an

entity domiciled in Orleans Parish, Louisiana and may be served as follows: Victoria D.

Johnson, Suite 300 Gibson Hall, 6823 St. Charles Avenue, New Orleans, LA 70118.

                                JURISDICTION AND VENUE

        4.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1343. This Court also has supplemental jurisdiction over Ms. Halliburton's state law claims

pursuant to 28 U.S.C. § 1367.

        5.      Venue is proper as one or more of the alleged unlawful employment practices

occurred in this District.

                     EXHAUSTION OF ADMINISTRATIVE REMEDIES

        6.      All conditions precedent to the institution of Plaintiff's ADA claims have been

fulfilled.

                                  FACTUAL ALLEGATIONS

        7.      In or around October 1997, Plaintiff began working for Defendant as a temporary

worker and was hired on a permanent basis in or around February 1998. After being promoted a

number of times by Defendant, Plaintiff again was promoted to the position of Lead Applications

Specialist in 2004. Plaintiff held the position of Lead Applications Specialist with Defendant

until her unlawful termination in May 2017.




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       8.      After nearly twenty years of dedicated service with Defendant, Plaintiff was

required to take FMLA-protected leave in 2016 and 2017 as a result of, inter alia, her

depression.

       9.      Plaintiff’s depression constitutes a “serious health condition” under the FMLA.

       10.     Plaintiff’s depression required both permanent leave and intermittent leave

protected by and provided for under the FMLA.

       11.     Plaintiff’s depression, and the complications associated therewith, also constitute

a disability under the ADA, as amended.

       12.     After returning to work in April 2016, Plaintiff complained to Defendant on

multiple occasions that she was being discriminated against because of her disability, retaliated

against for taking FMLA-protected leave, and retaliated against for complaining about

Defendant's discrimination. Notwithstanding Plaintiff's reports and complaints, Defendant took

no meaningful actions to remedy the unlawful discrimination and retaliation.

       13.     Indeed, while still on intermittent leave protected by the FMLA and after

reporting her complaints about Defendant's discrimination and retaliation, Plaintiff received

several unjustified "Counseling Reports" and performance evaluations from Defendants

criticizing her job performance. Defendant even placed Plaintiff on an unlawful three-day

unpaid suspension from in violation the FMLA, the ADA, and the FLSA.

       14.     Even further, Defendant blamed Plaintiff for reporting physical threats that a co-

worker had made to her and others by claiming that she, her corroborating witness (also a co-

worker), and the co-worker who actually made the threats were "disrupting the harmony" of the

workplace. To this very day, it remains unclear to Plaintiff how Defendants could possibly blame




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her for the threats that a co-worker made to her, particularly when there was a corroborating co-

worker who verified the threats made against Plaintiff and others.

        15.      In addition to the foregoing, Defendant removed Plaintiff's direct reports from

reporting to her and also removed several of Plaintiff's job responsibilities from her position as

Lead Applications Specialist.

        16.      In May 2017, Defendant abruptly terminated Plaintiff's employment without

justification while she was on FMLA-protected leave because of her disability, her taking

FMLA-protected leave, and her complaints about Defendant's discrimination and retaliation.

        17.      As a direct and proximate result of the aforesaid unlawful employment practices,

Plaintiff has sustained, and will in the future sustain, permanent and irreparable economic and

other harm, including, but not limited to, the loss of employment opportunities, damage to her

reputation, loss of earnings, loss of certain benefits, loss of future earning power, back pay and

front pay, interest, and attorneys’ fees and costs.

                                   FIRST CAUSE OF ACTION
              (Violations of the ADA – Disability Discrimination/Failure to Accommodate)

        18.      Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs as though fully set forth.

        19.      Plaintiff’s depression, and the complications associated therewith, constitute a

disability under the ADA, as amended.

        20.      Plaintiff was able to perform the essential functions of her position with a

reasonable accommodation.

        21.      Defendant refused to permit Plaintiff to perform the essential functions of her

positions and refused to engage in the interactive process or provide an accommodation to

Plaintiff.

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        22.    Defendant discriminated against Plaintiff on the basis of her disability as

heretofore alleged, and Defendant refused to honor its obligation to engage in the interactive

process and accommodate Plaintiff's disability.

        23.    Plaintiff requests that she be awarded all available relief including, but not limited

to, (i) a declaratory judgment that the acts and practices of the Defendant complained of herein

are in violations of the laws of the United States; (ii) injunctive relief, an award of lost wages,

including lost fringe benefits, which resulted from the unlawful discrimination complained of

herein, and reinstatement or front pay in lieu thereof; (iii) actual, compensatory and punitive

damages; (iv) attorney’s fees, expenses, interest, and costs; and (v) all other and further relief as

to this Court appears necessary and proper, including but not limited to, equitable relief to

compensate Plaintiff.

                                SECOND CAUSE OF ACTION
                                    (Retaliation – ADA)

        24.    Plaintiff incorporates by reference each and every allegation in the preceding

paragraphs as though fully set forth.

        25.    Plaintiff complained about the treatment she was receiving as a result of her

disability.

        26.    Plaintiff has been retaliated against in response to her participation in proceedings

under the ADA as well as to her opposition of Defendant's practices, which violate the ADA.

        27.    Defendant engaged in conduct materially adverse to a reasonable employee and

took adverse employment actions against Plaintiff as heretofore alleged.

        28.    Plaintiff requests that she be awarded all available relief including, but not limited

to, (i) a declaratory judgment that the acts and practices of the Defendant complained of herein

are in violations of the laws of the United States; (ii) injunctive relief, an award of lost wages,

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including lost fringe benefits, which resulted from the unlawful discrimination complained of

herein, and reinstatement or front pay in lieu thereof; (iii) actual, compensatory and punitive

damages; (iv) attorney’s fees, expenses, interest, and costs; and (v) all other and further relief as

to this Court appears necessary and proper, including but not limited to, equitable relief to

compensate Plaintiff.

                                 THIRD CAUSE OF ACTION
                              (Retaliation/Discrimination– FMLA)

        29.    Plaintiff incorporates by reference each and every allegation in the preceding

paragraphs as though fully set forth.

        30.    Defendants retaliated against Plaintiff for taking FMLA-protected leave as

heretofore alleged.

        31.    Defendants' actions constitute retaliation and/or discrimination under the FMLA.

        32.    Plaintiff has incurred actual and consequential damages as a result of Defendants'

unlawful retaliation.

        33.    Plaintiff requests that she be granted all available relief including, but not limited

to, an award of lost wages and employment benefits, liquidated damages, equitable relief as the

Court may deem appropriate, and all other and further relief as to the Court appears necessary

and proper, including, but not limited to, the costs of this action, attorney fees, and pre-judgment

interest.

                                FOURTH CAUSE OF ACTION
                                  (Violations of the FLSA)

        34.    Plaintiff incorporates by reference each and every allegation in the preceding

paragraphs as though fully set forth.




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       35.     At all times material hereto, Defendant was an "enterprise engaged in commerce"

within the meaning of the FLSA and had more than $500,000 in annual gross revenues.

Defendant and its employees routinely (i) travel across state lines to transact business, and (ii)

handle and work with materials that have traveled in interstate commerce, including automobiles,

computers, tools, and similar materials.

       36.     The FLSA prohibits employers like Defendant from making deductions to exempt

employees' salaries based on the quantity or quality of their work. Nonetheless, Defendant

placed Defendant on a three-day unpaid suspension and therefore misclassified Plaintiff as an

exempt employee.

       37.     Defendant's conduct, as alleged, constitutes a willful violation of the FLSA.

       38.     As a result of Defendant's unlawful conduct, Plaintiff is entitled to damages equal

to the amount of all uncompensated time worked, including minimum wage and overtime, and an

award of liquidated damages in an amount equal to the amount of unpaid compensation owed

under the FLSA.

       39.     Plaintiff also seeks reasonable attorney’s fees and costs, as provided by the FLSA.

                                     DEMAND FOR JURY

       40.     Plaintiff hereby demands a trial by jury for all issues in this case.

                                    PRAYER FOR RELIEF

       WHEREFORE, having set forth her Complaint, Plaintiff respectfully requests that this

Court award all legal and equitable relief available to her from Defendant, including, but not

limited to, a declaratory judgment that the acts and practices of the Defendants complained of

herein are in violations of the laws of the United States and Louisiana, injunctive relief, an award

of lost wages, including lost fringe benefits, which resulted from the unlawful discrimination and



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retaliation complained of herein, reinstatement or front pay in lieu thereof, compensatory and

punitive damages, liquidated damages, pre-judgment and post-judgment interest, attorneys fees,

expenses and costs (including expert witness expenses), equitable relief, and any other relief this

Court deems just and proper.

Dated: October 3, 2018                               Respectfully Submitted:

                                                     WILLIAMS LITIGATION, L.L.C.

                                                     By: s/Christopher L. Williams
                                                     Christopher L. Williams (T.A.)
                                                     La. Bar Roll No. 32269
                                                     639 Loyola Ave., Suite 1850
                                                     New Orleans, LA 70113
                                                     Telephone: 504.308.1438
                                                     Fax: 504.308.1446
                                                     chris@williamslitigation.com




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